EXHIBIT F
                   CERTIFICATE OF DESTRUCTION

    DATE DESTRUCTION COMPLETE: 3/22/23                           Our File: S7159

    CUSTOMER: Bath & Body Works – New Albany, OH          Claim #: 004138-147055-RC-01

    CONTACT: Megan Barrick - Senior Resolution Manager | Gallagher Bassett

    MATERIAL: BBW Candles & Wall Flowers - 1,015 Cases - L Brands DC 8

    DESTRUCTION METHOD: Crushed by landfill payloader & buried

    SPECIFICATION: Rendered non-retrievable



    SENTRY SALVAGE CERTIFIES THAT ON THE ABOVE REFERENCED DATE THE
    PRODUCTS LISTED ABOVE WERE DESTROYED BY CRUSHING IN
    ACCORDANCE WITH THE CUSTOMER’S INSTRUCTIONS. RECORDS OF
    DESTRUCTION HAVE BEEN PROVIDED TO THE CUSTOMER AND ARE
    MAINTAINED BY SENTRY AND AVAILABLE FOR REVIEW. A SENTRY
    REPRESENTATIVE WAS ONSITE THROUGHOUT THE DESTRUCTION PROCESS
    TO WITNESS AND CONFIRM THE DESTRUCTION OF ALL MATERIALS
    PROVIDED. ALL MATERIALS DELIVERED BY THE CUSTOMER WERE
    DESTROYED AND DISPOSED OF IN AN APPROVED FACILITY.



    AUTHORIZED SIGNATURE




    ______________________
    JAMES KORBO
    PRINCIPAL

    SENTRY SALVAGE




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